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                                                                                            U.S. DISTRICT COURT
                                                                                        EASTERN DISTRICT ARKANSAS



                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS                                                             K


UNITED STATES OF AMERICA                             )       4:18-CR-00001-"-         £6f\/1
                                                     )
               v.                                    )       Title   18, U.S.C.   § 1028A(a)(l)
                                                     )       Title   18, U.S.C.   § 1029(a)(2)
       PHILLIP HILL                                  )       Title   18, U.S.C.   § 1029(a)(4)
                                                     )       Title   18, U.S.C.   § 1029(b)(l)


                                         INDICTMENT

                              THE GRAND JURY CHARGES THAT:

                                          COUNT ONE

       From on or about the December 1, 201 7, until December 17, 201 7, in the Eastern District

of Arkansas, the Defendant,

                                             PHILLIP HILL,

knowingly and with intent to defraud, attempted to traffic in unauthorized access devices, that is,

social security numbers, and by such conduct did obtain and attempt to obtain things of an

aggregate value of $1000 and more during that period, and said conduct was in or affected

interstate and foreign commerce, all in violation of 18 U.S.C. § 1029(a)(2) and (b)(l).

                                             COUNT TWO

       On or about December 17, 201 7, in the Eastern District of Arkansas, the Defendant,

                                             PHILLIP HILL,

did knowingly possess and use, without lawful authority, a means of identification of another

person during and in relation to Wire Fraud, in violation of 18 U.S.C § 1343, by possessing and

using another person's credit card account number to participate in a scheme to defraud credit card

issuers and merchants, all in violation of 18 U.S.C. § 1028A(a)(l) and (c)(5).


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                                            COUNT THREE

       On or about December 17, 201 7, in the Eastern District of Arkansas, the Defendant,

                                             PHILLIP HILL,

knowingly and with intent to defraud, possessed "device-making equipment" as defined in 18

U.S.C. § 1029(e)(6), to wit, blank plastic ID cards, and said conduct was in or affected interstate

and foreign commerce, in violation of 18 U.S.C. § 1029(a)(4).

                              End of Text. Signature page attached.




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